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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                             )
      UNITED STATES OF AMERICA, et al.,                      )
                                                             )
                             Plaintiffs,                     )
                                                             )
      v.                                                     )   Civil Action No. 1:23-cv-10511-WGY
                                                             )
     JETBLUE AIRWAYS CORPORATION and                         )
     SPIRIT AIRLINES, INC.,                                  )
                                                             )
                             Defendants.                     )
                                                             )
                                                             )

                         DECLARATION OF LAURA E. RODGERS

   I, Laura E. Rodgers, declare as follows:

   1. I am over the age of 21, I have personal knowledge of the facts stated herein, and I am in

all respects competent to make this Declaration. These facts are based on my personal

knowledge.

   2. I have been employed by JetBlue Airways Corporation (“JetBlue”) since 2015 and

currently serve as Director, Regulatory and Litigation Counsel.

   3. I submit this declaration in support of Defendants’ Supplemental Motion to Seal Certain

Trial Exhibits and for Limited Closing of Courtroom to Public During Trial (the “Supplemental

Motion”), which seeks to (i) place under seal certain trial exhibits relating to JetBlue’s future,

post-merger network plans as listed in Appendix D (collectively, the “Combined Network Plan

Documents”) and (ii) prevent the public disclosure through testimony or attorney argument at

trial JetBlue’s future plans contained in the Combined Network Plan Documents.

   4. I have reviewed the Supplemental Motion and am familiar with the Combined Network

Plan Documents. The Combined Network Plan Documents reflect internal, non-public future


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plans for the post-merger airline. These documents constitute highly confidential, competitively

and commercially sensitive business information of JetBlue. JetBlue has taken reasonable

efforts to maintain the secrecy of this information.

    5. The public disclosure of such competitively and commercially sensitive information

would give JetBlue’s competitors, vendors or other third parties an unfair competitive advantage

and would cause serious competitive harm to JetBlue’s commercial, competitive or financial

interests.

    I declare under penalty of perjury that the foregoing is true and correct.



    EXECUTED this 25th day of October, 2023.



                                                              _/s/ Laura E. Rodgers___
                                                              Laura E. Rodgers




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                               CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the ECF system on October 25, 2023,

and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing.

                                                          /s/ Leila R. Siddiky
                                                          Leila R. Siddiky




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